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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

          Plaintiff,
                                                       Case No. 95-81146
v.
                                                       Honorable Patrick J. Duggan
CHRISTOPHER ALLEN, JR.,

          Defendant.
                                        /


                                            ORDER

                         At a session of said Court, held in the U.S.
                           District Courthouse, Eastern District
                             of Michigan, on August 10, 2009.

          PRESENT:          THE HONORABLE PATRICK J. DUGGAN
                            U.S. DISTRICT COURT JUDGE



       On November 4, 2008, this Court appointed the Federal Defender Office to review Mr.

Allen’s file with regard to his eligibility for resentencing under 18 U.S.C. § 3582(c)

(modification of an imposed term of imprisonment) and Guideline Amendment 706 (relating

to “crack cocaine”). After a review of Mr. Allen’s file, Leroy T. Soles, an attorney with the

Federal Defender Office, advised the Court that he does not believe that Mr. Allen is eligible

for resentencing under 18 U.S.C. § 3582(c) and Guideline Amendment 706.
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     The Court concurs with the conclusion reached by Mr. Soles that Mr. Allen is not

eligible for resentencing.

     SO ORDERED.

                                             s/PATRICK J. DUGGAN
                                             UNITED STATES DISTRICT JUDGE

Copies to:


Leroy T. Soles, Esq.
Michael Leibson, AUSA




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